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UN|TED STATES DlSTR|CT COUFtT

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-v- 03-20468-01-Ma qEH/§)%§ H)SYIC% HEMS
TERRY GARNER

chtt Hggl|l Retained
Defense Attorney

200 Jefferson, Suite 1313
Memphis, Tennessee 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Counts 1-4, 8-16 & 19-46 of the indictment on January 19,

2005.

The jury also found that the property of defendant (Count 52) is subject to forfeiture

According|y, the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Titie & Section Nature of Of'l'ense Offense Numbe;(s)
M
18 U.S.C. § 1028(a)(1) identity theft; aiding and abetting 02/01/2000 1-4
18 U.S.C. §2 8-16
18 U.S.C. § 1028(a)(5) Producing, transferring or possessing a 03/08/2003
18 U.S.C. § 2 document-making implement or 19 & 20
authentication features with intent to produce
false identifications; aiding and abetting
18 U.S.C. § 1028(a)(6) Possession of false identification document 03/06/2003 21
18 U.S.C. § 2 aiding and abetting
18 U.S.C. § 1 028(f) Conspiraoy to commit identity theft and 02/28/2003 22
18 U.S.C. § 1028(a){t) transfer or use of an identification document
18 U.S.C. § 1028(a)(7) with the intent to commit or aid and abet
18 U.S.C. § 2 unlawful activity
18 U.S.C. § 1028(a)(7) Transfer or use of an identification document 12/23/2000 23-46

18 U.S.C. §2

with the intent to commit or aid and abet
unlawful activity

Counts 5, 47-49 and 51 are dismissed on the motion of the United States. Counts 17, 18 and 50 are
dismissed on the motion of the defense

The Court declared a mistrial as to Counts 6 and 7.

The defendant is sentenced as provided in the following pages of this judgment The sentence '
imposed pu rsu ant to the Sentencing Fteform Act of 1984 and the N|andatoryVictims Restitution A

Of 1996.

This document entered on the docket sheet in comb!i”“'

with Rule 85 and/or 32(b) FFiCrP on

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Case No: 03-20468-01-Ma
Defendant Name: Terry Garner Page 2 of 8

|T IS FURTHEFi ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/17!1967 June 09, 2005
Deft’s U.S. lVlarshal No.: 19376~076

Defendant's Fiesidence Address:
1332 Weiner Ftoad
Memphis, TN 38108

NJM/i__

SAMUEL H. MAYS, JFi.
UN|TED STATES D|STF¢|CT JUDGE

30

 

June , 2005

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Case No: 03-20468-01-Ma
Defendant Name: Terry Garner Page 3 of 6

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of twenty-four (24) months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as fo|tows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MAFtSHAL
By:

 

Deputy U.S. |V|arsha|

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Case No: 03-20468-01-Ma
Defendant Name: Terry Garner Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of two (2) years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and foliow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
8. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Terry Garner Page 5 of 8

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shai| notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Sohedule of Payments set
forth in the Crirninal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall seek and maintain lawful full-time employment. The defendant shall
not accept employment at any bank or financial institution

2. The defendant shall not conduct or engage in any business involving the sale, receipt or
production of drivers’ licenses or other identification documents

3. The defendant shall provide third-party risk notification

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case Nc: 03-20468-01-Ma
Defendant Name: Terry Garner Page 6 of 6

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Sohedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Sohedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Tota| Restitution
$4,100.00

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Restitotion was ordered

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:03-CR-20468 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

